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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

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                                        February 27, 2023

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Appeal Number: 22-11270-V
Case Style: Project Veritas v. Cable News Network, Inc.
District Court Docket No: 1:21-cv-01722-SCJ

Dear Counsel,

Counsel is instructed to be aware of the decision in Crane v. New York World Telegram Corp.,
126 N.E.2d 753, 756 (1955) for tomorrow’s oral argument. Neither side has cited the decision.




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